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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

RAUL SOLIS III,                                  )
                                                 )
       Plaintiff,                                )
                                                 )
V.                                               )      CIVIL ACTION NO. SA-19-CA-1194-FB
                                                 )
CRESCENT DRILLING AND                            )
PRODUCTION, INC.; and CRESCENT                   )
DRILLING FOREMAN, INC.,                          )
                                                 )
       Defendants.                               )

                                          JUDGMENT

       The Court considered the Judgment to be entered in this case. Pursuant to the Order Accepting

Report and Recommendation of United States Magistrate Judge signed this date,

       IT IS ORDERED, ADJUDGED and DECREED that the Report and Recommendation of United

States Magistrate Judge (docket no. 6) is ACCEPTED pursuant to 28 U.S.C. § 636(b)(1) such that

Defendants’ Motion for Summary Judgment with Respect to Raul Solis III (docket no. 235) is

GRANTED.

       IT IS FINALLY ORDERED, ADJUDGED and DECREED that remaining motions pending

with the Court, if any, are Dismissed as Moot and this case is CLOSED.

       It is so ORDERED.

       SIGNED this 2nd day of November, 2022.


                                      _________________________________________________
                                      FRED BIERY
                                      UNITED STATES DISTRICT JUDGE
